8:92-cr-00014-RFR-MDN   Doc # 1227   Filed: 03/07/13   Page 1 of 3 - Page ID # 1197



                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER ALLEN SCOTT,      )            MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on the motion of

defendant Christopher Scott “for leave to amend and file a

supplemental pleading on his prior 28 U.S.C. 2255 petition”

(Filing No. 1226).      Scott claims that he “suffered a violation of

his Sixth Amendment right to counsel during the plea process that

deprived him to the right to make a knowing and informed choice

on whether to accept the Government’s plea offer” and that recent

decisions of the United States Supreme Court support his position

(Filing No. 1226, at 3).

            Scott filed his first motion under 28 U.S.C. § 2255 on

April 23, 1997 (Filing No. 869).         This Court denied the motion on

January 20, 1998 (Filing No. 889).         On March 26, 1998, this Court

declined to issue a certificate of appealability with regard to

the motion (Filing No. 898).         On February 10, 1999, the Court of

Appeals for the Eighth Circuit granted a certificate of

appealablility limited to certain issues (Filing No. 910), but

ultimately affirmed the judgment of this Court on July 7, 2000
8:92-cr-00014-RFR-MDN    Doc # 1227   Filed: 03/07/13   Page 2 of 3 - Page ID # 1198



(Filing No. 923).       Now, over twelve years after the full

adjudication of Scott’s first § 2255 motion, the Court must treat

his present motion not as a motion to amend the first, but as a

motion to file a second, successive § 2255 motion.

            This Court does not have the authority to rule on such

a successive motion.       “Before presenting a second or successive

motion, the moving party must obtain an order from the

appropriate court of appeals authorizing the district court to

consider the motion, as required by 28 U.S.C. § 2255, para. 8.”

28 U.S.C. § 2255 Rule 9.       Thus the Court must deny defendant’s

motion, absent an order from the Eighth Circuit Court of Appeals.

            Although this Court need not reach the merits of

Scott’s motion, the Court notes that the Eighth Circuit has

recently denied an appellant’s request for “authorization to file

a second section 2255 motion to present the claim that he

rejected a favorable plea offer because trial counsel failed to

adequately explain the terms of the offer and the consequences of

rejecting it.”    Williams v. United States, 705 F.3d 293, 294 (8th

Cir. 2013).    As in this case, the appellant in Williams cited

Lafler v. Cooper, 132 S.Ct. 1376 (2012), and Missouri v. Frye,

132 S.Ct. 1399 (2012), “cases in which the United States Supreme

Court acknowledged that defendants have a constitutional right to

effective assistance of counsel with respect to plea offers that

lapse or are rejected.”       Williams, 705 F.3d at 294.           And, as


                                      -2-
8:92-cr-00014-RFR-MDN   Doc # 1227   Filed: 03/07/13   Page 3 of 3 - Page ID # 1199



here, “Mr. Williams claims he could not have presented his claim

in his first section 2255 motion, which he filed before Cooper

and Frye were decided.”      Id.     The Eighth Circuit determined,

                 Pursuant to section 2255(h)(2), we
                 can authorize the filing of a
                 second or successive section 2255
                 motion that contains a claim based
                 on a “new rule of constitutional
                 law, made retroactive to cases on
                 collateral review by the Supreme
                 Court, that was previously
                 unavailable.”• 28 U.S.C.
                 § 2255(h)(2). In Cooper and Frye,
                 the Court noted that its analysis
                 was consistent with the approach
                 many lower courts had taken for
                 years, as well as with its own
                 precedent. We therefore conclude,
                 as have the other circuit courts of
                 appeals that have addressed the
                 issue, that neither Cooper nor Frye
                 announced a new rule of
                 constitutional law. The request
                 for authorization [to file a
                 successive § 2255 motion] is
                 denied.

Id.   (internal citations omitted).         Following Williams, Scott

would not appear to have any basis for the filing of a successive

§ 2255 motion.    A separate order will be entered in accordance

with this memorandum opinion.

            DATED this 7th day of March, 2013.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court



                                      -3-
